                    Case: 1:19-cv-03384 Document #: 7 Filed: 06/10/19 Page 1 of 2 PageID #:12
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
TRUSTEES OF THE IRON WORKERS
WELFARE PLAN
                                                                 CASE NUMBER:       19cv3384
                                V.                               ASSIGNED JUDGE:
                                                                                    Sara L. Ellis
 KINKELAAR PRODUCTS & SERVICES, INC. a/k/a KINKELAAR
 REINFORCING a/k/a KPS REINFORCING and STEVEN KINKELAAR          DESIGNATED
 individually d/b/a KINKELAAR
 PRODUCTS & SERVICES, INC. a/k/a KINKELAAR REINFORCING a/k/a     MAGISTRATE JUDGE: Jeffrey Cole
 KPS REINFORCING, a dissolved Illinois corporation



                    TO: (Name and address of Defendant)
       KINKELAAR PRODUCTS & SERVICES, INC.
       c/o STEVEN KINKELAAR, REGISTERED AGENT
       13202 E. 1925TH AVE.
       EFFINGHAM, IL 62401



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 DANIEL P. McANALLY
                 WHITFIELD McGANN & KETTERMAN
                 111 E. WACKER DRIVE
                 SUITE 2600
                 CHICAGO, IL 60601

                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK
                          RK

                                                                                    May 221, 2019
     (By) DEPUTY CLERK                                                              DATE
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